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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                            )
                                                     )
                  Plaintiff,                         )
                                                     )
       v.                                            )       CRIMINAL NO. 04-30139-WDS
                                                     )
DOUGLAS FARMER,                                      )
                                                     )
               Defendant.                            )


                                              ORDER

STIEHL, District Judge:

       Before the Court is defendant’s motion to suppress electronic surveillance and wiretap

evidence (Doc. 365). The motion is clearly boilerplate, and is lacking in specificity. This may

be, in part, because the documents to which the motion refers are still filed under seal and are not

part of the general discovery in this case.

       Accordingly, the Court DENIES defendant’s motion to suppress. Defendant may seek

leave to file a properly supported motion after that information is available to defendant and

counsel has properly reviewed the materials to determine if such a motion is warranted.


       IT IS SO ORDERED.

       DATED: September 6, 2005.



                                                     s/ WILLIAM D. STIEHL
                                                     United States District Judge
